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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                            PLAINTIFF

v.                           No. 4:12-cr-246-DPM-4

SAMUEL VENTURA-FUENTES                                           DEFENDANT


                                   ORDER

     On 15 May 2013 the Court granted the Government's oral motion to

dismiss the Indictment in this case as against Samuel Ventura-Fuentes

pursuant to Mr. Ventura's plea agreement in another case, number 4:13-cr-66-

DPM. The Court asked that David Cannon, Mr. Ventura's lawyer in this case,

confirm that he was aware of and involved in the agreement to resolve all the

charges against his client. Mr. Cannon has done so. NQ 444. The Court

therefore   confirms   its    dismissal    of   all   charges   against Samuel

Ventura-Fuentes in this case. And Mr. Cannon is relieved as counsel, with

the Court's thanks.

     So Ordered.


                                     D.P. Marshall Jr.
                                     United States District Judge

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